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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION


JANE DOE NO. 1                             Case No. CV-19-

                            Plaintiff,
                                            COMPLAINT AND DEMAND
v.
                                                FOR JURY TRIAL
MONTANA STATE UNIVERSITY,

                      Defendant.


                                 NATURE OF ACTION
     1. This is a civil rights action brought under Title IX of the Education

        Amendments of 1972, as amended, 42 U.S.C. § 1983 for violations of equal

        protection under the Fourteenth Amendment, and for violations of state law.

        Plaintiff Jane Doe No. 1 was raped by a fellow student while attending

        Defendant Montana State University (“MSU”). Subsequently, Jane Doe No.

        1 filed a complaint with MSU’s Office of Institutional Equity (“OIE”).
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   Pursuant to MSU’s Discrimination Grievance Procedures for Allegations of

   Violations of the Discrimination, Harassment, Sexual Misconduct, Dating

   Violence, Domestic Violence, Stalking and Retaliation Policy, OIE was to

   initiate and complete its investigation within forty (40) days. Instead, OIE

   took over ten (10) months to complete its investigation and issued a finding

   eleven (11) months after the complaint was filed. Meanwhile, Jane Doe No.

   1 dropped out of school because of the rape and emotional/psychological

   effects thereof and her rapist graduated from MSU with no consequences.

   MSU’s deliberate indifference and failure to take timely action in response

   to Ms. Doe No. 1’s report violated its own policies and federal law. MSU

   acted with gender based discriminatory intent in failing to timely respond to

   her complaints and thus, unreasonably interfered with Jane Doe No. 1’s

   access to educational programs at the University.

                                  PARTIES
2. Plaintiff Jane Doe No. 1 is a former Montana State University student who

   resides in Bozeman, Montana.

3. Defendant Montana State University is a public university located in

   Bozeman, Montana.

                                  VENUE
4. Jurisdiction over federal claims under Title IX of the Education

   Amendments of 1972, 20 U.S.C. §§1681-88 and under 42 U.S.C. §§1983

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   and 1988, which provide for attorney and expert fees for vindication of civil-

   rights claims, is asserted under 28 U.S.C. §§1331 and 1343.

5. Jurisdiction over state-law claims is asserted under 28 U.S.C. §1367, which

   grants supplemental jurisdiction over claims that are part of the same case or

   controversy as claims over which the Court has original jurisdiction.

6. The Court has personal jurisdiction over defendant and venue is proper here

   under 28 U.S.C. §1391 because the relevant events took place within this

   Court’s jurisdiction.

                       FACTUAL BACKGROUND
7. In mid to late September 2017, Ms. Doe No. 1 was an enrolled student at

   MSU.

8. That fall, she met Student A who was also an enrolled student at MSU and

   the two began to casually date.

9. Ms. Doe No. 1 was sexually inexperienced and as a result, Student A

   assured her that she was “in the driver’s seat” as far as any sexual contact

   between the two parties.

10.Although the exact date is disputed, at some point during their relationship,

   it is undisputed that Student A penetrated Ms. Doe No. 1’s vagina with his

   penis.

11.Student A admits that Ms. Doe No. 1 “froze” and “was not ok” within five to

   ten seconds of Student A beginning intercourse.
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12.Student A also admits that Ms. Doe No. 1 went from “very open” to “closed

   body language” and turned on her side and stopped moving.

13.The parties’ relationship ended in December 2017.

14.After receiving therapy, Ms. Doe No. 1 provided Student A with a hand-

   written letter confronting him about the rape in or around March 2018.

15. After Ms. Doe No. 1 told Student A she reported the rape, he stated over

   text message “We now have both done things the other doesn’t agree with

   without asking.”

16. Ms. Doe No. 1 experienced significant discomfort, anxiety, and fear as a

   result of the constant exposure to a potential encounter with Student A. As

   time progressed, Ms. Doe No. 1’s anxiety about running into Student A and

   concerns for her safety on campus, caused a disruption to her academic

   progress.

17.Ms. Doe No. 1 also feared retaliation if she pursued a formal investigation

   against Student A.

18.The aforementioned circumstances impacted Ms. Doe No. 1’s ability to

   access MSU programs and/or services.

19. As a result of Student A’s assault, the psychological harm Ms. Doe No. 1

   suffered, and Ms. Doe No. 1’s fear of encountering Student A on campus, in

   the spring 2018 semester, Ms. Doe No. 1’s grades plummeted, and she lost


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   her academic scholarship.

20.On April 6, 2018, Ms. Doe No. 1 submitted a Maxient report, used to

   document alleged violations of the Code of Student Conduct, to the OIE at

   MSU.

21.Ms. Doe No. 1 enrolled in the Fall 2018 semester at MSU.

22.On August 29, 2018, Ms. Doe No. 1 sought assistance from OIE in the form

   of a support letter pertaining to an Emotional Service Animal (“ESA”) on

   campus.

23.Subsequently, OIE provided Disability Services with a letter of support for

   Ms. Doe No. 1.

24.Ms. Doe No. 1 also began working with the VOICE Center on campus,

   which is a program that provides confidential support, advocacy, and

   counseling to students who have been impacted by trauma including sexual

   assault, relationship violence, harassment, and stalking.

25.In or around September 2018, Ms. Doe No. 1 also reported the rape to the

   Bozeman Police Department.

26.On September 12, 2018, Ms. Doe No. 1 met with OIE to discuss the OIE

   investigation process. Ms. Doe No. 1 again provided an overview of the

   rape.

27.OIE determined it had jurisdiction since at the time of the rape, both Student


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   A and Jane Doe No. 1 were students at MSU and the rape constituted a MSU

   Policy violation.

28.On September 17, 2018, OIE issued the formal complaint to both parties.

29.Pursuant to MSU’s Discrimination Grievance Procedures for Allegations of

   Violations of the Discrimination, Harassment, Sexual Misconduct, Dating

   Violence, Domestic Violence, Stalking and Retaliation Policy, OIE was to

   initiate and complete its investigation within forty (40) days.

30.The University Policies implicated in the investigation were as follows:

      a. 225.00 Sexual Misconduct

             i. “Consent” is defined as “an understandable exchange of
                affirmative words or actions, which indicate a willingness to
                participate in mutually agreed upon sexual activity. Consent
                must be informed, freely and actively given. If coercion,
                intimidation, threats or physical force are used there is no
                consent. There is no consent if a person is mentally or
                physically incapacitated so that such person cannot understand
                the fact of, or make a reasonable judgment as to, the nature,
                potential harmfulness of the conduct, or extent of the sexual
                situation. This includes incapacitation due to mental disability,
                alcohol or drug consumption, or being asleep or unconscious.
                A person who knows or reasonably should have known that
                another person is incapacitated may not engage in sexual
                activity with that person. There is not consent when there is
                force, expressed or implied, or use of duress or deception upon
                the victim, in the absence of mutually understandable words of
                actions, it is the responsivity of the initiator or the person who
                wants to engage in the specific sexual activity, to make sure that
                he/she has the consent from his/her partner(s). Silence does not
                necessarily constitute consent. Past consent to sexual activities
                does not imply ongoing future consent. Whether an individual
                has taken advantage of a position of influence over an alleged
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          victim may be a factor in determining consent.

      ii. “Sexual Assault” is defined as “actual attempted sexual contact
          with another person without that person’s consent.” This
          includes, but is not limited to:…
             • “Intentional and unwelcome contact with the breasts,
                buttock, groin or genitals or touching another with any of
                these body parts or coercing or forcing or attempting to
                coerce of force another to touch the perpetrator or
                themselves with or on any of these body parts.”
             • “Any other intentional bodily contact in a sexual manner,
                including contact by a penis, tongue or finger and oral
                copulation (mouth to genital or genital to mouth contact)
             • “Sexual intercourse without consent, including acts
                commonly referred to as ‘rape.’”


 b. 223 Sexual Harassment

       i. “unwelcome sexual advances, requests for sexual favors, or
          other verbal or physical conduct of a sexual nature, including
          sexual misconduct,” and “conduct that is sufficiently serious
          (i.e. severe, pervasive, or persistent) and objectively offensive
          so as to deny or limit a person’s ability to participate in or
          benefit from the University’s programs, services, opportunities,
          or activities;” or when such conduct has the purpose or effect of
          unreasonably interfering with an individual’s employment or
          academic performance.

      ii. A serious incident, such as sexual assault, even if isolated, can
          be sufficient” in creating a hostile environment.

 c. 224 Hostile Environment

       i. “unwelcome sexual advances, requests for sexual favors, or
          other verbal or physical conduct of a sexual nature, including
          sexual misconduct,” and “conduct that is sufficiently serious
          (i.e. severe, pervasive, or persistent) and objectively offensive
          so as to deny or limit a person’s ability to participate in or
          benefit from the University’s programs, services, opportunities,
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                or activities;” or when such conduct has the purpose of effect of
                unreasonably interfering with an individual’s employment or
                academic performance

            ii. A serious incident, such as sexual assault, even if isolated, can
                be sufficient” in creating a hostile environment.

31.On September 19, 2018, Student A retained legal counsel.

32.Ms. Doe No. 1 had trouble attending classes due to the investigation and fear

   she would run into Student A on campus.

33.On October 16, 2018, Ms. Doe No. 1 filed for a retroactive withdrawal from

   MSU effective August 24, 2018, as a result of the rape and MSU/OIE’s

   deliberate indifference and failure to take immediate, effective remedial

   steps to resolve the complaint of sexual harassment.

34.On May 4, 2019, nearly eight months after Ms. Doe No. 1 reported the rape

   to OIE, Student A graduated from MSU with no consequences while the

   investigation still remained pending.

35.On July 10, 2019, OIE concluded its final investigation, which found:

      a. Ms. Doe No. 1 provided no specific verbal permission for penile-

         vaginal intercourse.

      b. Ms. Doe No. 1 expressed a verbal concern that engaging in sexual

         intercourse would be or was awkward and painful.

      c. That penile-vaginal intercourse occurred on the night in question.

36.Yet, OIE concluded that based on the factual findings and a preponderance
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    of the evidence standard, there was insufficient evidence to indicate that

    Student A violated the university Policy Section 225.00 Sexual Misconduct-

    Sexual Assault and Sections 223.00 and 224.00 Sexual Harassment, Hostile

    Environment harassment.

 37.On July 22, 2019, Maxson submitted his final report to Emily J. Stark,

    Director of Institutional Equity and Title IX Coordinator.

 38.On August 15, 2019, Emily Stark issued a non-finding against Student A

    and the Mutual No Contact Order issued September 17, 2018, was no longer

    effective.

 39.The trauma that Ms. Doe No. 1 suffered due to the rape was compounded by

    MSU officials’ handling of the matter.

                               CLAIM 1
Sex Discrimination under Title IX of the Education Amendments 1972,
          20 U.S.C. §§ 1681-88 – Sexual Harassment/Assault

 40.Plaintiff incorporates all previous allegations.

 41.Title IX prohibits sex discrimination by recipients of federal education

    funding.

 42.MSU agreed to comply with all applicable federal statutes relating to

    nondiscrimination by recipients of federal financial assistance.

 43.MSU had notice when it accepted federal funding under Title IX that the

    institution would be liable for intentional sex discrimination and deliberate

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   indifference to sexual harassment.

44.Pursuant to Title IX, a student may bring a private action against a federal

   education funding recipient, such as MSU, for the recipient’s deliberate

   indifference to sexual harassment of a student by another student.

45. MSU created and/or subjected Ms. Doe No. 1 to a hostile educational

   environment in violation of Title IX because:

   a) Ms. Doe No. 1 is a member of a protected class;

   b) Ms. Doe No. 1 was subjected to sexual harassment in the form of a sexual

   assault by another student;

   c) Ms. Doe No. 1 was subjected to harassment based on her sex; and

   d) Ms. Doe No. 1 was subjected to a hostile educational environment created

   by MSU’s failure to properly investigate and/or address the sexual assault

   and subsequent harassment.

46.Sexual assault and rape are the most vicious forms of sexual harassment.

47.Student A’s rape of Ms. Doe No. 1 constitutes sex-based harassment.

   Student A’s conduct, and the subsequent psychological effect it had on Ms.

   Doe No. 1, was so severe, pervasive, and objectively offensive that it

   deprived Ms. Doe No. 1 of access to educational opportunities or benefits

   provided by the school.

48.Ms. Doe No. 1’s first Title IX complaint gave MSU actual notice of Student


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   A’s sexual assault, which was gender based.

49.OIE was the appropriate channel at MSU for purposes of reporting Ms. Doe

   No. 1’s Title IX complaint.

50.MSU was in a position to vindicate Ms. Doe No. 1’s rights.

51.MSU had authority to address the discrimination.

52.MSU had authority to institute correction measures.

53. MSU exercised substantial control over both the harasser, Student A, and

   the context in which the harassment occurred, as both Student A and Ms.

   Doe No. 1 were students of MSU subject to MSU’s policies and procedures.

54. Ms. Doe No. 1 expected MSU to act in accordance with the law.

55.Ms. Doe No. 1 expected MSU to act in accordance with university policy.

56.MSU failed to take immediate, effective remedial steps to resolve the

   complaint of sexual harassment, and instead acted with deliberate

   indifference towards Ms. Doe No. 1.

57.MSU’s deliberate indifference and failure to take timely action in response

   to Ms. Doe No. 1’s report violated its own policies and federal law.

58.MSU acted with gender based discriminatory intent in failing to respond to

   her complaints.

59.MSU failed to follow its own sexual harassment policy in response to Ms.

   Doe No. 1’s Title IX complaint that she was raped.


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 60.The Defendant's failure to promptly and appropriately respond to the alleged

    sexual harassment resulted in Ms. Doe No. 1, on the basis of her sex, being

    excluded from participation in, being denied the benefits of, and being

    subjected to discrimination in MSU’s education program in violation of Title

    IX.

 61.As a direct and proximate result of these unlawful acts, Ms. Doe No. 1 has

    suffered and will continue to suffer economic and noneconomic damages in

    an amount to be determined at trial.

                               CLAIM 2
Sex Discrimination under Title IX of the Education Amendments 1972,
   20 U.S.C. §§ 1681-88 – Official Policy/Custom of Discrimination

 62. Plaintiff incorporates all previous allegations.

 63. In the final report, Maxson stated:

    In her response to the DRAFT Report of Findings, the Complainant inquired
    about the timeline for the investigation. While every case presented within
    the Office of Institutional Equity is important, because of the extreme
    volume of cases and other staffing issues, cases with active students are
    prioritized over those where students have withdrawn from the University.
    In this case, the Complainant withdrew (October 16, 2018) prior to the
    Investigator even being able to meet with the Respondent (October 23,
    2018).

 64.Based on the foregoing and the failure to provide a timely response to Ms.

    Doe No. 1’s complaint, it is apparent that MSU has an official policy and/or

    custom of underfunding and understaffing the OIE, and of deprioritizing


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   cases involving the most severe forms of denial of access to educational

   opportunities or benefits provided by the school. These official policies

   and/or customs result in MSU’s inability and/or unwillingness to take

   immediate, effective remedial steps to resolve complaints of sexual

   harassment and/or assault.

65. MSU engaged in a pattern and practice of behavior designed to discourage

   and dissuade students and guest students who had been sexually assaulted

   from seeking prosecution and protection and from seeking to have sexual

   assaults from being fully investigated.

66. Due to these official policies and/or customs, reasonable students in Ms.

   Doe No. 1’s circumstances would be, and in fact were, chilled from

   reporting sexual harassment.

67. This policy and/or custom constituted disparate treatment of females and

   had a disparate impact on female students.

68. Therefore, in addition to its Title IX violations in response to Ms. Doe No.

   1’s complaints of sexual harassment and assault, MSU violated Title IX

   through its official policies and/or customs.

69.As a direct and proximate result and natural consequence of these unlawful

   acts, Ms. Doe No. 1 has suffered and will continue to suffer economic and

   noneconomic damages in an amount to be determined at trial.


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                             CLAIM 3
                         42 U.S.C. § 1983
   Denial of Equal Protection under the Fourteenth Amendment


70.Plaintiff incorporates all previous allegations.

71.Section 1983 creates a federal cause of action to address violations of federal

   statutory or constitutional rights by state officials acting under color of law.

72.At all relevant times, MSU was acting under color of law.

73.At all relevant times, MSU was empowered with a legal obligation to act in

   response to Ms. Doe No. 1’s rape complaint.

74.MSU was deliberately indifferent to the sex-based harassment that Ms. Doe

   No. 1 reported.

75.Defendant acted with gender-based discriminatory intent in failing to

   properly respond to Student A’s alleged rape of Ms. Doe No. 1.

76.MSU acted with gender-based discriminatory intent in failing to properly

   respond to Student A’s alleged rape of Ms. Doe No. 1.

77.The right to be free from gender-based discrimination has been clearly

   established for decades.

78.As a direct and proximate result of MSU’s unlawful acts, Ms. Doe No. 1 has

   suffered and will continue to suffer economic and non-economic damages in


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      an amount to be determined at trial.

                             PRAYER FOR RELIEF

   For the reasons stated above, Plaintiff respectfully requests the following relief

from the Court:


   A. Declare that Defendant’s acts and conduct constitute violations of federal
      and state law;

   B. Enter judgment in Ms. Doe No. 1’s favor on all claims for relief;

   C. Award Ms. Doe No. 1 full compensatory damages, economic and non-
      economic, including, but not limited to, damages for pain and suffering,
      mental anguish, emotional distress, humiliation, and inconvenience that Ms.
      Does No. 1 has suffered and is reasonably certain to suffer in the future;

   D. Award Ms. Doe No. 1 pre-judgment and post-judgment interest at the high
      lawful rate;

   E. Award Ms. Doe No. 1 her reasonable attorneys’ fees (including expert fees),
      and all other costs of this suit.

   F. Enter a permanent injunction requiring MSU to comply with its Title IX
      obligations to refrain from sex discrimination by mandating actions
      including, but not limited to, adequately funding and staffing the OIE so as
      to enable MSU to take immediate, effective remedial steps to resolve all
      complaints of sexual harassment and/or assault.

   G. Award all other relief in law or equity to which Ms. Doe No. 1 is entitled
      and that the Court deems equitable just, or proper.




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                    DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury of all issues so triable in this action.

DATED this 28th day of October 2019.


                           By:    /s/Veronica Procter
                                  Veronica A. Procter
                                  PROCTER LAW, PLLC
                                  Attorney for Plaintiff




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